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3
     Attorney for defendant
4    SCOTT PETERSON

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8
                          UNITED STATES DISTRICT COURT
9
                         EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,            No.   10-CR-0299-08 WBS
12
                  Plaintiff,
13
          v.                              STIPULATION AND [PROPOSED] ORDER
14                                        TO CONTINUE J&S
     SCOTT PETERSON,
15
                  Defendant.
16

17        The defendant, Scott Peterson, through his undersigned

18   counsel and the United States, through its undersigned counsel,

19   hereby stipulate and request that judgment and sentencing,

20   currently set for Monday, May 12, 2014 at 9:30 am, be vacated and

21   continued until Monday, June 2, 2014 at 9:30 am.         USPO Miranda

22   Lutke has been informed and has no objection.

23        A continuance is necessary to provide counsel additional

24   time for investigation and discussions with his client and AUSA

25   Lee regarding the plea agreement and sentencing issues.

26        The parties also stipulate and request that the pre-sentence

27   report schedule be modified as follows:

28        Judgment and Sentencing date:                 June 2, 2014
                                         1
      Case 2:10-cr-00299-WBS Document 381 Filed 04/22/14 Page 2 of 3


1          Reply or statement of non-opposition:        May 27, 2014

2          Motion for correction:                       May 19, 2014

3          Final PSR:                                   May 12, 2014

4          Counsel’s written objections

5          to the PSR:                                  May 5, 2014

6          I, William E. Bonham, the filing party, have received

7    authorization from AUSA Justin Lee to sign and submit this

8    stipulation and proposed order on his behalf.

9          Accordingly, the defense and the United States stipulate and

10   request that judgment and sentencing for defendant, Scott

11   Peterson should be continued until Monday, June 2, 2014 at 9:30

12   am.

13   Dated: April 21, 2014                   BENJAMIN B. WAGNER
                                             United States Attorney
14

15                                           By:/s/ WILLIAM BONHAM for
                                             JUSTIN LEE
16                                           Assistant U.S. Attorney

17
     Dated: April 21, 2014                   By:/s/ WILLIAM BONHAM for
18                                           WILLIAM BONHAM
                                             Counsel for defendant
19                                           SCOTT PETERSON
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      Case 2:10-cr-00299-WBS Document 381 Filed 04/22/14 Page 3 of 3


1                                      ORDER

2         IT IS SO ORDERED.     Judgment and sentencing currently set for

3    Monday, May 12, 2014 is vacated and continued to Monday, June 2,

4    2014, at 9:30 am. It is further ordered that the pre-sentence

5    report schedule is modified as follows:

6
          Judgment and Sentencing date:               June 2, 2014 @ 9:30 AM
7
          Reply or statement of non-opposition:         May 27, 2014
8
          Motion for correction:                        May 19, 2014
9
          Final PSR:                                    May 12, 2014
10
          Counsel’s written objections
11
          to the PSR:                                   May 5, 2014
12
     Dated:   April 21, 2014
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